                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
    In re:                                            )    Chapter 11
                                                      )
    AMYRIS, INC., et al., 1                           )    Case No. 23-11131 (TMH)
                                                      )
                            Debtors.                  )    (Jointly Administered)
                                                      )

                            NOTICE OF APPEARANCE AND REQUEST
                            FOR SERVICE OF NOTICES AND PAPERS

        PLEASE TAKE NOTICE that the attorneys listed below enter their appearances as
counsel to an ad hoc group of the holders of the 1.50% Convertible Senior Notes due 2026 (the
“Ad Hoc Noteholder Group”), pursuant to sections 342 and 1109(b) of title 11 of the United
States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rules 2002, 9007 and 9010
of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and request that all
notices given or required to be given in these chapter 11 cases (collectively, the “Chapter 11
Cases”), and all papers served or required to be served in the Chapter 11 Cases, be given and
served upon:

     Frank Merola, Esq.                                     John Storz, Esq.
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1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
        PLEASE TAKE FURTHER NOTICE that the foregoing demand is not only for the
notices and papers referred to in the sections of the Bankruptcy Code and the Bankruptcy Rules
specified above, but also includes, without limitation, any and all orders and notices of any
application, motion, petition, complaint, demand, request or other pleading in the Chapter 11
Cases, whether formal or informal, whether written or oral, and whether transmitted or conveyed
by mail, delivery, telephone, electronically or otherwise filed with or delivered to the Bankruptcy
Clerk, Court or Judge (as those terms are defined in Bankruptcy Rule 9001), which affects the
above-captioned debtors (collectively, the “Debtors”), or property of the Debtors, or the Ad Hoc
Noteholder Group.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance, nor any
later appearances, pleadings, claims or suits filed in the Chapter 11 Cases, shall be deemed or
construed as a waiver of: (i) any rights of the Ad Hoc Noteholder Group to (a) have final orders in
any non-core matters entered only after de novo review by a District Judge, (b) trial by jury in any
proceeding so triable in the Chapter 11 Cases or any case, controversy, or proceeding related to
the Chapter 11 Cases, or (c) have the District Court withdraw the reference in any matter subject
to mandatory or discretionary withdrawal; or (ii) any other rights, claims, actions, and defenses of
the Ad Hoc Noteholder Group, either in law or in equity, under any agreements or otherwise, all
of which rights, claims, actions, and defenses are expressly reserved.

                           [Remainder of page intentionally left blank]




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Dated: August 14, 2023        BLANK ROME LLP
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                                      3
